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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


   SIMRET SEMERE TEKLE,                           )
        Plaintiff,                                )
                  V.                              )
                                                  )           Case No. l:18-cv-211
   NOUF BIN NAYEF ABUL-AZIZ AL                    )
   SAUD                                           )
   MOHAMMAD BIN ABDULLAH AL                       )
   SAUD,                                          )
           Defendants.                            )
                                                  )

                                               ORDER


         At issue in this matter are two motions filed by defendants pursuant to Rule 72(a), Fed. R.

  Civ. P., to set aside discovery orders issued by Magistrate Judge Anderson. First, in the motion to

  set aside a portion of the magistrate judge's May 10,2019 discovery order(Dkt. 189), defendants

  argue that the magistrate judge erred in holding that defendants were required to appear for

  depositions in the Eastern District of Virginia. Second, in the motion to set aside a portion of the

  magistrate judge's May 17, 2019 discovery order(Dkt. 196), defendants argue that the magistrate

  judge erred in holding that plaintiff was not required to respond to nineteen requests for admission

  served by defendants. The motions have been fully briefed, and oral argument is not necessary to

  aid the decisional process. Thus, defendants' motions are ripe for disposition and are addressed

  separately below.

                                                   I.


          Pursuit to Rule 72(a),a party may object to a magistrate judge's order on non-dispositive

  matters. The district court must modify or set aside any part ofthe order to which the party objects

  "that is clearly erroneous or is contrary to law." Rule 72(a), Fed. R. Civ. P. Although the "contrary


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